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 Joyce W. Lindauer
 State Bar No. 21555700
 Joyce W. Lindauer Attorney, PLLC
 1412 Main Street, Suite 500
 Dallas, TX 75202
 Telephone: (972) 503-4033
 Facsimile: (972) 503-4034
 Attorneys for Debtor

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                           §
                                                  §
 2999TC ACQUISITIONS, LLC,                        §           CASE NO. 21-31954-hdh
                                                  §
         Debtor.                                  §           Chapter 11


               DEBTOR’S THIRD AMENDED PLAN OF REORGANIZATION

 TO THE HONORABLE UNITED STATES BANKRUPTCY COURT:

       COMES NOW 2999TC Acquisitions, LLC, debtor herein (“Debtor”), and files this its Third
 Amended Plan of Reorganization (the “Plan”). The Debtor owned approximately 2.47 acres of
 land located at 2999 Turtle Creek Blvd. in the City of Dallas, Texas (the “Property”). This Property
 became the subject of a dispute with the primary secured lender that has been resolved as part of
 this case. Concurrently with payment in full to HNGH in accordance with the terms of the Court’s
 prior orders, the Debtor intends to convey the Property to an entity that will obtain the funding
 needed to issue payments to the Debtor’s creditors. The sources and uses of funds are described
 in more detail in the Disclosure Statement accompanying this Plan to the extent available at this
 time. Periodic financial reports will be filed with the Court, as required by the Bankruptcy Code,
 covering the profitability, projections of cash receipts and disbursements for a reasonable period.
 These reports shall be available on the Court’s PACER site using the Debtor’s name and/or case
 number as referenced above or can be also obtained from Debtor’s counsel by written request.




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                                         ARTICLE I
                               DEFINITIONS AND USE OF TERMS

 Defined Terms. Unless the context otherwise requires, capitalized terms shall have the meanings
 set forth in this section 1.01.

        “Administrative Expense Claim” means an administrative expense or claim described in
        Bankruptcy Code § 503 and entitled to administrative priority pursuant to Bankruptcy Code
        § 507(a)(1), including, but not limited to, Fee Claims.

        “Allowed Amount” means the amount of any Allowed Claim.

        “Allowed Claim” means a Claim against the Debtor allowable under the Bankruptcy Code
        to the extent that: (i) a Proof of Claim or request for payment was timely filed, or, with leave
        of the Bankruptcy Court, late filed, and as to which no objection has been timely filed with
        the Bankruptcy Court, or, if filed, is allowed by a Final Order, unless otherwise provided in
        this Plan; (ii) the Claim is scheduled and not listed as disputed, contingent, or unliquidated,
        and no objection has been timely filed or, if filed, is allowed by a Final Order; or (iii) with
        respect to an Administrative Expense Claim or Fee Claim, the Administrative Expense
        Claim or Fee Claim has been approved by a Final Order upon notice and application to the
        Bankruptcy Court.

        “Assets” means property of the Estate.

        “Avoidance Actions” means any and all rights, claims, and causes of action which a trustee,
        Debtor, or other appropriate party in interest would be able to assert on behalf of the Estate
        under applicable state statutes or the avoidance provisions of chapter 5 of the Bankruptcy
        Code, including actions under one or more of the provisions of Bankruptcy Code §§ 506,
        542-551, and 553.

        “Bankruptcy Case” or “Case” means this bankruptcy case: Case No. 21-31954-hdh, styled
        as 2999TC Acquisitions, LLC, pending before the Bankruptcy Court.

        “Bankruptcy Code” or “Code” means the United States Bankruptcy Code, 11 U.S.C.
        §§ 101, et seq., as amended.

        “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for the
        Northern District of Texas, Dallas Division, or other such court that may have jurisdiction
        with respect to the reorganization of the Debtor pursuant to Chapter 11 of the Bankruptcy
        Code.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as amended, and
        “Bankruptcy Rule” refers to a specific rule therein.

        “Bar Date” means March 7, 2022, the deadline established by the Bankruptcy Court
        pursuant to Bankruptcy Rule 3003(c)(3), after which any Proof of Claim may not be timely
        filed, except Claims held by governmental agencies.


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        “Business Day” shall mean any day that is not a Saturday, Sunday, or one of the legal
        holidays listed in Bankruptcy Rule 9006(a).

        “Claim” shall have the meaning set forth in Bankruptcy Code § 101(5).

        “Claimant” or “Creditor” means the holder of a Claim or interest in Assets.

        “Class” means any class into which Claims are classified pursuant to the Plan. Each
        subclass of a class shall be treated as a separate class.

        “Collateral” means the real or personal property securing a Secured Claim.

        “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order.

        “Confirmation Date” means the date on which the Order confirming this Plan is entered.

        “Confirmation Hearing” means the hearing or hearings held before the Bankruptcy
        Court in which the Debtors will seek Confirmation of this Plan.

        “Confirmation Order” means the Order confirming this Plan.

        “Contested” when used with respect to a Claim, means a Claim against the Debtor: (i)
        that is listed in the Debtor’s Schedules of Assets and Liabilities as disputed, contingent,
        or unliquidated; (ii) that is listed in the Debtor’s Schedules of Assets and Liabilities as
        undisputed, liquidated, and not contingent and as to which a Proof of Claim has been filed
        with the Bankruptcy Court, to the extent the Proof of Claim amount exceeds the scheduled
        amount; (iii) that is the subject of a pending action in a forum other than the Bankruptcy
        Court unless such Claim has been determined by Final Order in such other forum and
        Allowed by Final Order of the Bankruptcy Court; or (iv) as to which an objection has been
        or may be timely filed and has not been denied by Final Order. To the extent an objection
        relates to the allowance of only a part of a Claim, such Claim shall be a Contested Claim
        only to the extent of the objection.

         “Debtor” means 2999TC Acquisitions, LLC, the Debtor herein. Where the context so
        requires, “Debtor” shall also include the Reorganized Debtor.

        “Disputed” with respect to a Claim means either: (i) a Claim which has been objected to
        by the Debtor; or (ii) a Claim that is listed on the Debtor’s bankruptcy schedules as
        “disputed, contingent or unliquidated” and for which such Creditor or Interest holder has
        not filed a Proof of Claim.

        “Effective Date” means the third day after the Confirmation Date.

        “Estate” means the bankruptcy estate of the Debtor in this Case.

        “Fee Claim” means a Claim under Bankruptcy Code §§ 330 or 503 for allowance of
        compensation and reimbursement of expenses to professionals in this Bankruptcy Case.



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        “Fee Application” means an application filed with the Bankruptcy Court for allowance
        of a Fee Claim.

        “Final Order” means an Order as to which any appeal that has been taken has not been
        stayed following the expiration of the time for appeal or has been resolved, or as to which
        the time for appeal has expired.

        “Impaired” means the treatment of an Allowed Claim or Interest pursuant to the Plan
        unless, with respect to such Claim or Interest, either: (i) the Plan leaves unaltered the legal,
        equitable and contractual rights to which such Claim or Interest entitles the holder of such
        Claim or Interest; (ii) notwithstanding any contractual provision or applicable law that
        entitles the holder of such Claim or Interest to demand or receive accelerated payment of
        such Claim or Interest after occurrence of a default, the Debtor (A) cures any default that
        occurred before or after the commencement of the Chapter 11 Case on the Petition Date,
        other than default of the kind specified in § 365(b)(2) of the Bankruptcy Code; (B)
        reinstates the maturity of such Claim or Interest as such maturity existed before such
        default; (C) compensates the holder of such Claim or Interest for any damages incurred as
        a result of any reasonable reliance by such holder on such contractual provision or such
        applicable law; and (D) does not otherwise alter the legal, equitable or contractual rights
        to which such Claim or Interest entitles the holder of such Claim or Interest; or (iii) the
        Plan provides that on the Effective Date, the holder of such Claim or Interest receives, on
        account of such Claim or Interest, cash equal to the Allowed Amount of such Claim or
        Interest.

        “Insider” has the meaning provided by § 101(31) of the Bankruptcy Code.

        “Interest” means any equity or ownership interest in the Debtor.

         “Lien” means any charge against or interest in property to secure payment of debt or
        performance of an obligation and includes a judicial lien, security interest, and deed of trust,
        mortgage and property tax lien.

        “Order” means an Order of the Bankruptcy Court.

         “Petition Date” means October 29, 2021, the date on which the Debtor filed its voluntary
        petition under Chapter 11 of the Bankruptcy Code.

        “Plan” means this Plan of Reorganization, including any amendments, modifications or
        corrections made thereto pursuant to the Bankruptcy Code.

        “Priority Tax Claim” means a Claim entitled to priority pursuant to Bankruptcy Code §
        507(a)(8).

        “Priority Wage Claim” means a Claim entitled to priority pursuant to Bankruptcy Code §
        507(a)(4).

        “Priority Unsecured Claim” means an Unsecured Claim entitled to priority under
        Bankruptcy Code § 507(a), except Priority Tax Claims and Priority Wage Claims.

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        “Proof of Claim” means a written statement setting forth a Creditor’s Claim filed in this
        Case and conforming substantially to the appropriate official form.

        “Reorganized Debtor” means the Debtor as it exists after Confirmation of the Plan.

        “Schedules and Statements” means the Debtor’s bankruptcy schedules A/B, D-H and the
        Statement of Financial Affairs.

        “Secured Claim” means a Claim that is secured within the meaning of Bankruptcy Code §
        506(a). Should the value of the Collateral securing a Secured Claim be less than the amount
        of the Claim, the Claim will be bifurcated into a Secured Claim equal to the value of the
        Collateral and a general Unsecured Claim for the remainder, pursuant to Bankruptcy Code
        § 506(d).

        “Unsecured Claim” means any Claim that is not a Secured Claim or an Administrative
        Expense Claim and that is not entitled to priority treatment under Bankruptcy Code § 507.

                                          ARTICLE II
                                      CONCEPT OF THE PLAN

         2.01 The Plan is a plan of reorganization. The Debtor shall continue its business after
 the Confirmation Date unless otherwise changed by the terms of this Plan. The Debtor owned
 approximately 2.47 acres of undeveloped land located at 2999 Turtle Creek Blvd. located in the
 City of Dallas, Texas. (the “Property”). The Debtor plans to develop all or part of the Property into
 a luxury hotel and residences and/or sell the Property to fund the Plan. The Debtor is pursuing all
 options to maximize the returns to creditors herein. Earlier in this case, the Debtor contested
 actions taken by HNGH on October 29, 2021 which conveyed the Debtor’s Property toHNGH.
 The Debtor challenged the transfer and commenced an adversary proceeding against HNGH and
 others to avoid the transfer. The Debtor’s challenges, and HNGH’s counterarguments, were
 resolved in their entirety by that certain Agreed Order Regarding Motion to Lift Stay [Doc. 10],
 Motion to Dismiss [Doc. 9], Motion for Sanctions [Doc. 15] and Motion to Enforce Stay [Doc.
 14], entered at Docket No. 64 (the “December Agreed Order”), which provides the following
 important terms:

         1.       The automatic stay shall remain in full force and effect as to HNGH through 5:00
 p.m. central time, March 15, 2022, (the “Payoff Deadline”) by which the Debtor shall make
 payment to HNGH in the amount set forth on Exhibit A to the Order, filed under seal, in full and
 final satisfaction of the Note (the “Payoff Amount”), which note shall be reinstated immediately
 prior to the Debtor’s payment to HNGH of the Payoff Amount and counsel for HNGH shall hold
 the rescission deed during the pendency of the term of the Agreed Order and shall have no liability
 to the Debtor or any other party by way of holding such deed or releasing the deed in accordance
 with the terms of the Agreed Order.

          2.     If the Debtor pays HNGH the Payoff Amount within the Payoff Period (the “Payoff
 Event”), then simultaneously with the Payoff Event, the Deed-in-Lieu filing, which was submitted
 for filing pre-petition but recorded on November 1, 2021, shall be deemed rescinded and avoided,
 and the Debtor shall retain all title to the Property. To effectuate this provision of the Order, the

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 Parties shall submit and this Court shall enter an Agreed Order in Adversary Proceeding 21-03085
 (the “Adversary Proceeding”) avoiding the Deed-in-Lieu filing and recording, granting no
 damages to any party, and dismissing the adversary proceeding with prejudice to refiling. Also
 simultaneously with the occurrence of the Payoff Event, HNGH shall have and possess a
 $2,000,000 Allowed Claim against the Debtor and the Debtor’s estate, which Debtor shall be
 obligated to satisfy in full within 12 months of the Payoff Event from the first proceeds of any sale
 of the Debtor’s assets, from a construction loan or any equity raised in excess of the New Equity
 Threshold as set forth on Exhibit “A” to the Order , which exhibit is filed under seal, and not from
 debt raised by the Debtor to exclusively satisfy or make the required Consideration Payments
 herein, the payment of taxes and other costs and expenses of administration of this case (the
 “Allowed Claim”). In order to provide parties in interest notice of the Allowed Claim, HNGH
 shall be entitled to file a UCC-1 against substantially all of the Debtor’s assets, attaching the Order
 for reference. If the Allowed Claim is not paid in full within 12 months of the Payoff Event, then
 HNGH, at its sole and absolute discretion, and without recourse to any party, may convert the
 Allowed Claim into the senior most equity class of interests in the Debtor.

         3.     As material consideration for the agreed continuation of the automatic stay from
 the entry of the Order to the Payoff Deadline, Debtor shall pay or cause to be paid to HNGH
 $100,000 per month, commencing on the Petition Date through March, 2022, such that the Debtor
 shall owe to HNGH a total of $500,000, the payment of which shall be applied to reduce the Payoff
 Amount (the “Consideration Payments”). For the sake of clarity, Debtor shall owe HNGH the
 Consideration Payments as follows:, $100,000 payable not later than December 14, 2021; plus
 $100,000 on December 31, 2021 and $100,000.00 on January 14, 2022; $100,000 on February 1,
 2022; and $100,000 on March 1, 2022.

         4.     Each Consideration Payment shall be due not later than 5:00 p.m. central time on
 the date provided above. Payments may be delivered to counsel for HNGH or directly to HNGH

         5.      The Debtor’s failure to timely make any Consideration Payment, failure to pay ad
 valorem taxes and any related penalties and interest by no later than February 28, 2022, or failure
 to timely satisfy the Payoff Amount (each a “Default”) shall result in the stay provided by
 11 U.S.C. Section 362(a) automatically terminating as to HNGH, and HNGH shall have no
 obligation to provide Debtor with notice of any Default. Upon the occurrence of a Default, unless
 waived in writing by HNGH, the Deed-in-Lieu shall be deemed a valid, unavoidable pre-petition
 transfer agreed to by the Debtor, and Debtor shall be deemed to have waived any right to challenge,
 seek to avoid, or otherwise contest the validity of the transfer of the Property to HNGH through
 the Deed-in-Lieu as detailed in HNGH’s Motion to Dismiss and to Lift Stay.

         6.      The Adversary Proceeding and all deadlines related thereto shall be abated through
 the Payoff Deadline, and that the Order and the agreement of the Parties shall otherwise resolve
 the Adversary Proceeding in the event of a Default or a Payoff Event. If a Default occurs, upon
 notice of the Default to this Court and request by HNGH, this Court shall enter an order dismissing
 all claims asserted by the Debtor or any other party in the Adversary Proceeding with prejudice,
 and shall rule that the Debtor stipulates and agrees that the Deed-in-Lieu filing and recording is
 not avoidable and was for reasonably equivalent value. If a Payoff Event occurs, upon notice of
 the Payoff Event to the Court and request by the Debtor, this Court shall enter an order ruling that


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 the Deed-in-Lieu filing is avoided and rescinded, and that HNGH shall take all reasonable actions
 necessary to immediately instruct its counsel to deliver the recission deed to the Debtor and to
 ensure title to the Property is returned to the Debtor.

        7.      Upon the entry of the Agreed Order the personal guaranty case against Timothy
 Barton shall be abated and then upon occurrence of a Payoff Event or a Default described herein
 permitting HNGH to retain the Deed, Timothy Barton shall be released by HNGH from his
 Guaranty and the personal guaranty case shall be dismissed with prejudice.

         8.      The Court shall retain jurisdiction over all matters pertaining to the Order.

         In mid-March, 2022, the Debtor requested a modification of the Payoff Deadline in the
 December Agreed Order and such modification was stipulated and agreed to by HNGH. As a
 result a subsequent order was entered by the Court (the “March Agreed Order” and with the
 December Agreed Order, the “Agreed Orders” allowing the Debtor to have until May 30, 2022 to
 payoff HNGH. The exact terms of the March Agreed Order are set forth in Exhibit “A” attached
 hereto and incorporated herein by this reference as if set forth herein in full for all purposes. The
 Debtor intends to meet the obligations in both Agreed Orders. The Debtor made all required
 Consideration Payments under the December Agreed Order, and as of April 25, 2022, was not in
 Default under the March Agreed Order. The Debtor remains bound by the Agreed Orders, which
 are incorporated into this Plan. To the extent this Plan conflicts with any of the terms of the Agreed
 Orders, the Agreed Orders shall control. In order to satisfy its obligations under the Agreed Orders,
 the Debtor intends to convey its interest in the Property to a new single purpose entity that will
 obtain a loan and concurrently payoff HNGH and, as soon as reasonably practicable thereafter,
 fund the Plan payments described herein.

         2.02    The Plan will pay all Allowed Claimants as provided herein.

                                       ARTICLE III
                              GENERAL TERMS AND CONDITIONS

        3.01      Treatment of Claims. This Plan is intended to resolve all Claims against the
 Debtor and/or property of the Debtor of whatever character, whether contingent or liquidated, or
 whether allowed by the Bankruptcy Court pursuant to Bankruptcy Code Section 502(a). However,
 only Allowed Claims will receive payments under the Plan. The Plan is designed to ensure that
 Claimants shall receive at least as much pursuant to this Plan as they would receive in a liquidation
 pursuant to Chapter 7 of the Bankruptcy Code.

         3.02     Time for Filing Claims. The holder of any Administrative Claim other than (i) a
 Fee Claim, (ii) a liability incurred and paid in the ordinary course of business by the Debtor, or
 (iii) an Allowed Administrative Claim, must file with the Bankruptcy Court and serve on the
 Debtor and its respective counsel, notice of such Administrative Claim within thirty (30) days after
 the Effective Date. At a minimum, such notice must identify (i) the name of the holder of such
 Claim, (ii) the amount of such Claim, and (iii) the basis of such Claim. Failure to file this notice
 timely and properly shall result in the Administrative Claim being forever barred and discharged.



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         Each Person asserting an Administrative Expense that is a Fee Claim incurred before the
 Effective Date shall be required to file with the Bankruptcy Court and serve on the Debtor’s
 counsel and the U. S. Trustee, a Fee Application within sixty (60) days after the Effective Date.
 Nothing shall prevent this date from being extended by agreement between the Debtor and the
 Claimant.

        A person who is found to have received a voidable transfer shall have thirty (30) days
 following the date upon which the order ruling that such transfer is avoidable becomes a Final
 Order in which to file a Claim in the amount of such avoided transfer.

        Liabilities incurred from the Petition Date through the Effective Date in the ordinary course
 of business shall be paid in the ordinary course of business by the Debtor.

         3.03      Modification to the Plan. In accordance with Bankruptcy Rule 3019, to the
 extent applicable, this Plan may be modified or amended upon application of the Debtor, or
 corrected prior to the Confirmation Date, provided that notice and an opportunity for hearing have
 been given to any affected party. The Plan may be modified at any time after Confirmation and
 before the Effective Date, provided that the Plan, as modified, meets the requirements of sections
 1122 and 1123 of the Bankruptcy Code and the Bankruptcy Court, after notice and a hearing,
 confirms the Plan, as modified, under section 1129 of the Bankruptcy Code, the circumstances
 warrant such modification and Debtor consents thereto in writing.

                                  ARTICLE IV
                DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS

       The Debtor designates the following Classes of Claims and Interests pursuant to
 Bankruptcy Code Section 1123.

              CLASSIFICATION OF CLAIMS
              Class 1: Allowed Secured Claims of Dallas County
              Class 2: Allowed Secured Claims of HNGH Turtle Creek, LLC
              Class 3: General Unsecured Claims
              Class 4: Insider Claims
              Class 5: Equity Interests

                                 ARTICLE V
            PROVISIONS FOR SATISFACTION OF CLAIMS AND INTERESTS

 A. NON-CLASSIFIED CLAIMS. The following Claims are not classified, pursuant to
 Bankruptcy Code Section 1123:

                Treatment of Administrative Claims. Each holder of an Administrative Claim
         other than Professional Fee Administrative Claims shall receive, in full satisfaction,
         settlement, release, and discharge of, and in exchange for, such Allowed Administrative
         Claim, (i) Cash equal to the unpaid portion of such Allowed Administrative Claim or


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         (ii) such other treatment as to which the Debtor and such holder shall have agreed upon in
         writing; provided, however, that Allowed Administrative Claims with respect to liabilities
         incurred by the Debtor in the ordinary course of business during the Bankruptcy Case shall
         be paid in the ordinary course of business in accordance with the terms and conditions of
         any agreements relating thereto. On or before the Effective Date, the Debtor or
         Reorganized Debtor shall pay or have paid in full all Allowed Administrative Claims. All
         Allowed Administrative Claims shall be paid by the Reorganized Debtor when they are
         due until the Bankruptcy Case is closed pursuant to a final decree, order of dismissal, or
         order of conversion. Until entry of such an order, the Reorganized Debtor shall file with
         the Bankruptcy Court and serve upon the United States Trustee a quarterly financial report.
         Any administrative ad valorem tax claims shall be paid pursuant to otherwise applicable
         state law.

                 Treatment of Professional Fee Administrative Claims. All persons who are
         awarded compensation or reimbursement of expenses by the Bankruptcy Court in
         accordance with sections 330 or 331 of the Bankruptcy Code or entitled to the priorities
         established pursuant to sections 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the
         Bankruptcy Code, shall be paid in full, in Cash, the amounts allowed by the Bankruptcy
         Court on the later of the Effective Date or the date on which the order allowing such Claim
         becomes a Final Order, or upon such other terms as may be mutually agreed upon between
         such holder of an Allowed Professional Fee Claim and the Reorganized Debtor.

             Treatment of Priority Tax Claims. Priority Tax Claims shall be paid in full in equal
         monthly installments of principal and interest. Payments will commence on the first day
         of the first month following the Effective Date and continue on the first day of each month
         thereafter through sixty (60) months from the Petition Date. Interest will accrue at an
         interest rate of 12% per annum from the Petition Date. The Debtor believes that no such
         claims exist.

             Title 28 U.S.C. Section 1930 Fees. The Reorganized Debtor shall pay all post-
         Confirmation fees assessed by the Office of the United States Trustee until this Case is
         closed by the Court or the Reorganized Debtor is otherwise released from such obligations
         by the Court.

 B. CLASSIFIED CLAIMS. The following Claims are classified pursuant to Bankruptcy Code
 Section 1123, and are treated as follows:

         Class 1: Allowed Secured Claims of Dallas County

                Class 1 shall consist of the Allowed Secured Claims of Dallas County. Class 1
         Claims will be current for 2021 Taxes and will be paid on or before their due dates.

                 If the Reorganized Debtor fails to make any payment as set out above, that failure
         shall be an event of default. If the Reorganized Debtor fails to cure an event of default
         within ten (10) days after receipt of written notice of default from this Claimant, then the
         Claimant may (a) enforce the entire amount of its claim; (b) exercise any and all rights and


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         remedies the Claimant may have under applicable state law; and/or (c) seek such relief as
         may be appropriate in the Court.

                  This Claimant shall retain any valid liens it had as of the Petition Date. This Class
         is Unimpaired by the Plan and the holder of this Claim is not entitled to vote to accept or
         reject the Plan.

         Class 2: Allowed Secured Claims of HNGH Turtle Creek, LLC (“HNGH”)


                 The Class 2 Allowed Secured Claims of HNGH shall be treated in accordance with
         the terms of the Agreed Orders, and any modification to the treatment of HNGH's Allowed
         Class 2 Claim shall require the express written consent of HNGH.

                The Debtor intends to seek HNGH's consent to allow the Debtor to convey the
         Property to an affiliated entity that will obtain a loan to simultaneously payoff HNGH
         otherwise in accordance with the terms of the Agreed Orders, and to fund payments to
         holders of Allowed Claims under this Plan.

         Class 3; Allowed General Unsecured Claims

         Class 3 shall consist of Allowed Unsecured Claims, other than the Claims of Insiders.
 Class 3 Claims shall be paid 50% of such Allowed Claims in 12 equal monthly installments,
 commencing on the first (1st) day of the first calendar month following the Payment in Full of
 Class 1 and 2 Claims and continuing on the first day of each month thereafter until paid as called
 for by this Plan..

         This Class is Impaired and any holder of a Claim in this class is entitled to vote to accept
 or reject the Plan.

         Class 4: Allowed Insider Claims

        Class 4 shall consist of the Allowed Claims of Insiders of the Debtor. Class 4 Claims shall
 be paid 50%, but only after all other Claimants in the Case have been paid in full as set out above.

        Class 4 Claimants are Impaired and are entitled to vote to accept or reject the Plan, but their
 claims will not be counted for or against Confirmation.

         Class 5 - Equity Interests

             All Equity Interests in the Debtor shall be retained.




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                                      ARTICLE VI
                          MEANS FOR IMPLEMENTATION OF PLAN

        6.01 Implementation of Plan. The Plan is a plan of reorganization. In order to
 implement the Plan, the Debtor intends to seek the consent of HNGH to allow the Debtor to convey
 the Property to an affiliated special purpose entity which will obtain a loan to simultaneously pay
 off HNGH in accordance with the terms of the Agreed Orders, and to issue payments to holders
 of Allowed Claims in accordance with the terms of this Plan.

        Upon the Confirmation Date, all property of the Debtor and its Estate shall vest in the
 Reorganized Debtor, subject to the Allowed Secured Claims described in this Plan. The Agreed
 Orders shall remain in full force and effect against the Reorganized Debtor, and the Reorganized
 Debtor shall be bound to the terms of the Agreed Orders as if it was the Debtor. If the Debtor or
 Reorganized Debtor fails to cause HNGH to be paid in full in accordance with the terms of the
 Agreed Orders, then HNGH shall be entitled to exercise all of its rights and remedies under the
 Agreed Orders.

                            ARTICLE VII
       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        7.01 Rejection of Executory Contracts and Unexpired Leases. All executory
 contracts and unexpired leases not assumed by the Debtor as of the Confirmation Date shall be
 deemed as rejected by this Plan.

        7.02 Reservation of Rights. The Debtor shall have the right to assume or reject,
 pursuant to Bankruptcy Code Section 365, prior to the Confirmation Date, any executory contract
 or unexpired lease of real property (to the extent permitted under the Bankruptcy Code).

         7.03 Bar Date for Claims Based on Rejection. If the rejection of an executory contract
 or an unexpired lease results in damages to the other party or parties to such contract or lease, a
 Claim for such damages shall be forever barred and shall not be enforceable against the Plan
 Proponent or their properties or agents, successors, or assigns, unless a proof of Claim is filed with
 the Bankruptcy Court and served upon the Reorganized Debtor, by the earlier of (a) the end of the
 month following the period in which the Effective Date occurs or (b) such other deadline as the
 Court may set for asserting a Claim for such damages. Any Rejection Claim arising from the
 rejection of an unexpired lease or executory contract shall be treated as a General Unsecured
 Claim; provided, however, that any Rejection Claim based upon the rejection of an unexpired lease
 of real property either prior to the Confirmation Date or upon the entry of the Confirmation Order
 shall be limited in accordance with section 502(b)(6) of the Bankruptcy Code and state law
 mitigation requirements. Nothing contained herein shall be deemed an admission that such
 rejection gives rise to or results in a Claim or shall be deemed a waiver of any objections to such
 Claim if asserted.




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                              ARTICLE VIII
            ENFORCEMENT, SETTLEMENT, OR ADJUSTMENT OF CLAIMS

         8.01 The Debtor’s Causes of Action. Except as otherwise released pursuant to the Plan,
 all Claims recoverable under Section 550 of the Bankruptcy Code, all Claims against third parties
 on account of an indebtedness, and all other Claims of any kind or character whatsoever owed to
 or in favor of the Debtor or Reorganized Debtor or the Estate to the extent not specifically
 compromised and released pursuant to this Plan or any agreement referred to and incorporated
 herein, are hereby preserved and retained for enforcement by the Reorganized Debtor for the
 benefit of the Creditors subsequent to the Effective Date. This Plan shall not estop the Debtor or
 Reorganized Debtor from asserting any claim or cause of action whether disclosed or not. For an
 abundance of clarity, the Reorganized Debtor shall be bound by all releases and waivers of claims
 made by the Debtor during the Bankruptcy Case, and shall be bound by all stipulations and agreed
 orders entered into by the Debtor during the Bankruptcy Case.

          8.02 Objections to Claims. Any party authorized by the Bankruptcy Code may object
 to the allowance of Pre-Petition Date Claims at any time prior to sixty (60) days after the Effective
 Date and, as to Rejection Claims, at any time prior to sixty (60) days after the filing of any such
 Rejection Claim. Any proof of Claim filed after the Court sets bar dates shall be of no force and
 effect and shall be deemed disallowed. All Contested Claims shall be litigated to Final Order;
 provided, however, that the Debtor or Reorganized Debtor may compromise and settle any
 Contested Claim, subject to the approval of the Bankruptcy Court. Notwithstanding the foregoing,
 a person who is found to have received a voidable transfer shall have thirty (30) days following
 the date upon which the order ruling that such transfer is avoidable becomes a Final Order in which
 to file a Claim in the amount of such avoided transfer.

         No distributions under this Plan shall be made to the holder of a Claim that is in dispute,
 unless and until such Claim becomes an Allowed Claim. If a Claim is Disputed in whole or in part
 because the Debtor or Reorganized Debtor asserts a right of offset against such Claim or
 recoupment against the holder of such Claim, then, if and to the extent the Claim giving rise to the
 offset or recoupment is sustained by Final Order, the Claim in dispute shall be reduced or
 eliminated and, if applicable, the holder of such Claim shall be required to pay the amount of such
 offset or recoupment, less the amount of its Allowed Claim. In addition, any party authorized by
 the Bankruptcy Code, at any time, may request that the Court estimate any contingent, disputed or
 unliquidated Claim pursuant to Section 502(c) of the Bankruptcy Code, regardless of any prior
 objections.

                                         ARTICLE IX
                                   EFFECT OF CONFIRMATION

        9.01 Discharge and Release of Debtor. Pursuant to Bankruptcy Code Section 1141(d),
 confirmation of this Plan does discharge the Debtor.

        9.02 Legal Binding Effect. The provisions of this Plan, pursuant to the Bankruptcy
 Code Section 1141 shall bind the Debtor and all Creditors, whether or not they accept this Plan.
 The distributions provided for Claimants shall not be subject to any Claim by another creditor or


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 interest holder by reason of any assertion of a contractual right of subordination.


        9.03 Discharge. Confirmation of the Plan shall result in the inability to commence or
 continue any judicial, administrative, or other action or proceeding on account of any Pre-Petition
 Date Claims against the Debtor or Reorganized Debtor.

 Except as provided in the Plan, from and after the Confirmation Date, all holders of Claims against
 the Debtor are restrained and enjoined by the Confirmation of the Plan: (a) from commencing or
 continuing in any manner, any action or other proceeding of any kind with respect to any such
 Claim against the Debtor or Reorganized Debtor, or its property; (b) from enforcing, attaching,
 collecting, or recovering by any manner or means, any judgment, award, decree, or order against
 the Assets or the Debtor or Reorganized Debtor on account of such Claims; (c) from creating,
 perfecting, or enforcing any encumbrance of any kind against the Assets, or the Debtor or
 Reorganized Debtor on account of such Claims; (d) from asserting any setoff, right of subrogation,
 or recoupment of any kind against any obligation due the Debtor or Reorganized Debtor on account
 of such Claims; and (e) from performing any act, in any manner, in any place whatsoever, that
 does not conform to or comply with the provisions of the Plan on account of such Claims; provided,
 however, that each holder of a Contested Claim may continue to prosecute its proof of Claim in
 the Bankruptcy Court and all holders of Claims shall be entitled to enforce its rights under the Plan
 and any agreements executed or delivered pursuant to or in connection with the Plan. Creditors
 shall not pursue claims against non-debtor third parties at the same time as their claims are being
 paid through the Plan. For an abundance of clarity, nothing contained in this provision of the Plan
 shall preclude HNGH from enforcing its rights and remedies under the terms of the Agreed Orders,
 and nothing contained herein shall preclude HNGH from exercising its rights and remedies against
 non-debtor third parties at the same time as its claim is being administered under this Plan.

                                        ARTICLE X
                                 MISCELLANEOUS PROVISIONS

         10.01 Request for Relief Under Bankruptcy Code Section 1129. In the event any
 Impaired Class shall fail to accept this Plan in accordance with Bankruptcy Code Section 1129(a),
 the Plan Proponent reserves the right to, and does hereby request the Bankruptcy Court to confirm
 the Plan in accordance with Bankruptcy Code Section 1129(b).

         10.02 Revocation. The Plan Proponent reserves the right to revoke and withdraw this
 Plan at any time prior to the Confirmation Date.

         10.03 Effect of Withdrawal or Revocation. If the Plan Proponent revokes or
 withdraws this Plan prior to the Confirmation Date, or if the Confirmation Date or the Effective
 Date does not occur, then this Plan shall be deemed null and void. In such event, nothing contained
 herein shall be deemed to constitute a waiver or release of any Claims by or against the Debtor or
 any other person or to prejudice in any manner the rights of the Debtor or any person in any further
 proceedings involving the Debtor.

         10.04     Due Authorization by Creditors. Each and every Claimant who elects to


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 participate in the distributions provided herein warrants that it is authorized to accept in
 consideration of its Claim against the Debtor the distributions provided in the Plan and that there
 are no outstanding commitments, agreements, or understandings, express or implied, that may or
 can in any way defeat or modify the rights conveyed or obligations undertaken by it under this
 Plan.

         10.05 Entire Agreement. This Plan, as described herein, the Confirmation Order, and
 all other documents and instruments to effectuate this Plan provided for herein, constitute the entire
 agreement and understanding among the parties hereto relating to the subject matter hereof and
 supersedes all prior discussions and documents.

         10.06 Section 1146 Exemption. Pursuant to Section 1146 of the Bankruptcy Code, the
 issuance, transfer or exchange or any security under this Plan or the making or delivery of any
 instrument or transfer pursuant to, in implementation of or as contemplated by this Plan or the
 transfer of any property pursuant to this Plan shall not be taxed under any federal, state or local
 law imposing a stamp, transfer or similar tax or fee.

         10.07 Provisions Governing Distributions. All payments and distributions under the
 Plan shall be made by the Reorganized Debtor as indicated. Any payments or distributions to be
 made by the Plan Proponent pursuant to the Plan shall be made as soon as reasonably practicable
 after the Effective Date, except as otherwise provided for in the Plan, or as may be ordered by the
 Bankruptcy Court. Any payment or distribution by the Reorganized Debtor pursuant to the Plan,
 to the extent delivered by the United States Mail, shall be deemed made when deposited into the
 United States Mail.

       Payments of Cash to be made by the Reorganized Debtor pursuant to the Plan shall be
 made by check drawn on a domestic bank or by wire transfer from a domestic bank.

         Distributions and deliveries to holders of Allowed Claims shall be made at the addresses
 set forth on the proofs of Claim or proofs of interest filed by such holders (or at the last known
 addresses of such holders if no proof of Claim or proof of interest is filed). All Claims for
 undeliverable distributions shall be made on or before the second anniversary of the Effective
 Date. After such date, all unclaimed property shall remain the property of the Reorganized Debtor
 and the Claim of any other holder with respect to such unclaimed property shall be discharged and
 forever barred.

         Checks issued by the Reorganized Debtor in respect of Allowed Claims shall be null and
 void if not cashed within ninety (90) days of the date of delivery thereof. Requests for reissuance
 of any check shall be made directly to the Plan Proponent by the holder of the Allowed Claim to
 whom such check originally was issued. Any claim in respect of such a voided check within ninety
 (90) days after the date of delivery of such check. After such date, all Claims in respect of void
 checks shall be discharged and forever barred, and the amount of such checks shall become
 Unclaimed Property and returned to the Reorganized Debtor.

         No interest shall be paid on any Claim unless, and only to the extent that, the Plan
 specifically provides otherwise.


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         10.08 Governing Law. Unless a rule of law or procedure supplied by federal law
 (including the Bankruptcy Code and Bankruptcy Rules) is applicable, or a specific choice of law
 provision is provided, the internal laws of the State of Texas shall govern the construction and
 implementation of the Plan and any agreements, documents, and instruments executed in
 connection with the Plan, without regard to conflicts of law.

         10.09 Default. Unless otherwise stated in this Plan, if the Reorganized Debtor fails to
 satisfy any of the obligations under this Plan and such default is not cured within 30 business days
 of the date of transmission of notice of the default to the Reorganized Debtor, then the defaulted
 party may pursue all its remedies outside of the Bankruptcy Court, including, but not limited to,
 foreclosure on its lien(s) on property. For purposes of this provision, notice shall be provided to
 the Reorganized Debtor, c/o Joyce Lindauer, Esq. via facsimile at (972) 503-4034 and email at
 joyce@joycelindauer.com.

                                         ARTICLE XI
                                  MODIFICATION OF THE PLAN

         11.01 The Debtor may propose amendments to or modifications of this Plan at any time
 prior to Confirmation, upon notice to all parties-in-interest. After Confirmation, the Reorganized
 Debtor may, with approval of the Court and so long as it does not materially or adversely affect
 the interest of creditors, modify to remedy any defect or omission or reconcile any inconsistencies
 in the Confirmation Order in such manner as may be necessary to carry out the purposes and effect
 of this Plan.

                                        ARTICLE XII
                                 RETENTION OF JURISDICTION

         Notwithstanding confirmation of the Plan or the Effective Date having occurred, the Court
 will retain jurisdiction for the following purposes:

         12.01 Allowance of Claims. To hear and determine the allowability of all Claims upon
 objections to such Claims.

         12.02 Executory Contracts and Unexpired Leases Proceedings. To act with respect
 to proceedings regarding the assumption of any executory contract or unexpired lease of the Debtor
 pursuant to Section 365 and 1123 of the Code and Article VII of the Plan.

         12.03 Plan Interpretation.              To resolve controversies and disputes regarding the
 interpretation of the Plan.

         12.04 Plan Implementation. To implement and enforce the provisions of the Plan and
 enter orders in aid of confirmation and implementation of the Plan.

        12.05 Plan Modification. To modify the Plan pursuant to Section 1127 of the Code
 and applicable Bankruptcy Rules.


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        12.06 Adjudication of Controversies. To adjudicate such contested matters and
 adversary proceedings as may be pending or subsequently initiated in the Court against the Debtor.

          12.07 Injunctive Relief. To issue any injunction or other relief as appropriate to
 implement the intent of the Plan, and to enter such further orders enforcing any injunctions or other
 relief issued under the Plan or in the Confirmation Order.

         12.08 Interpleader Action. To entertain interpleader actions concerning assets to be
 distributed or other assets of the Estate.

         12.09 Correct Minor Defects. To correct any defect, cure any omission or reconcile
 any inconsistency or ambiguity in the Plan, the Confirmation Order or any document executed or
 to be executed in connection therewith, as may be necessary to carry out the purposes and intent
 of the Plan, provided that the rights of any holder or an Allowed Claim are not materially and
 adversely affected thereby.

        12.10 Authorization of Fees and Expenses. To review and authorize payment of
 professional fees incurred prior to the Effective Date. Approval after such date is not required.

        12.11 Post-Confirmation Orders Regarding Confirmation. To enter and implement
 such orders as may be appropriate in the event the Confirmation Order is, for any reason, stayed,
 reversed, revoked, modified, or vacated.

        12.12      Final Decree. To enter a final decree closing the Case pursuant to Bankruptcy
 Rule 3022.

         Dated: April 25, 2022.
                                                       Respectfully Submitted,

                                                         /s/ Joyce W. Lindauer
                                                       Joyce W. Lindauer
                                                       Texas State Bar No. 21555700
                                                       Joyce W. Lindauer Attorney, PLLC
                                                       1412 Main St., Suite 500
                                                       Dallas, TX 75202
                                                       Telephone: (972) 503-4033
                                                       joyce@joycelindauer.com
                                                       ATTORNEYS FOR THE DEBTOR


                                                         /s/Timothy Barton
                                                       President of the Debtor as
                                                       Proponent of the Plan




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                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 25, 2022, a true and correct copy of the
 foregoing document was served via email pursuant to the Court’s ECF system upon the parties
 receiving electronic notice in this case.

                                                      /s/ Joyce W. Lindauer
                                                    Joyce W. Lindauer




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